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..`(p 9'€ `t|"| HGV) GQUSJGJUOO allole HGV JOJ pSON 40 99!1ON..
pep!lua lue/\;| 19>|:)0(] HC|V am esn 01 ems aq asee|d 333 ug lueumoop s!ql 6ug|!,l ueq/\/\ SO`Z‘ A'“’H

 

 

J,uepua}a([ 105 Aeulonv

 

sues auoqd wmal lou p;p IpQJBG

wmch 105 AQU~IOW
LIQ)HBL[SS/S 80/1 [/90 :le'BC[

 

'aoua,zafuoo auoz{d

1110/f fo amy puz) amp 2111 jo 110/f /§f_lzou ][_IM m) zju[) HGV 2111 'aoua,lafuog
zuawaé’z)uU]/V QSUQ 3141 adofaq£[w§ 10397 HGV 91{1 fo daqwaw 19 1111/m aoua,zafuoo auoqdajaz

19 u_z awd_m_z;wd[asunoa [v_z,l,z pv;)[ wz{z gimbel g-g amy 10307 HUV pan g-g [ amy 10907 114ng

 

 

 

 

woo‘/{auolouldde[o@Ood 0017§ 636 0§9 sluepa}e([ 03 )[oy.m>,d
19“`159311109@1“9>{!9‘{5 ZIOI 817€ 9117 }}llu!€ld uQ>IPWS mulde
SSQJppV [pz]/\[-§[ ‘GN euoqd Bupuaseldeg /{1112€[ QuIBN

zeou;usguoo auoqd }I(IV 01{1 ug eledyc)p_md mm lesunoo BH;AAouog aql
SO/ZO/LO amalgqu luemeBeuB]/\[ 98123 50 9113(]

eBpn[ 919118;312]/\{ 12 ql;/\A souelejuo;) luslua[ueg /([Jeg[ ute lsenbel
Ssaoold H([V un 01 lueulealge ma peqoeel 19/( lou QABq /

:/(qu mm pue }I(IV Bu;pw€el pell:a}uoo pue lam aAeq Aqu 1219 J.IOdal [qunog

 

/
'(S)lunpue}eq

H:)NH}IH:INOO rIV lE[ :IO ALID Ol.'IV O"IV<I .LSVEI

HNOH<I H(IV }IO:I CIEIEIN ;IO HC)LLON 'A

‘(S)JJuuwld
VHS two 80 ;) `ON HSVC)
vnnrNV;)-VWAV HHOIHNH

VINHO:[I'IVC) :IO lC)IHlSIC[ NHEIHJRION

T\Ir'\f\’\ T”\T\TTC‘TFT O'.'rT\JTO rr'.'rTTMr\

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..'(p 9'8 `t|"| HC|V) GQUSJGJUOO ellqu HGV 104 DSON 40 99!10N..
pa|1!1u91ue/\;] 19)|00(] gov am esn 01 ems 90 asee|d 333 ug lueLunoop S!ql Bug|!,l ueq/\/\ gm ml

 

 

J,u2pu9}9([ 105 Aeluonv

 

S[{eo euoqd ulmel lou pyp fpallzq

JJDHWICI loJ KQU~IOW
UQ)[}RL[SS/S 80/1[/90 1'[)91€€[

 

'aaua,lafuoo auoz{d

JHO/{fO amy ppm amp 2111/0 110/f /§f_lzou [[_IM mm) zgu[) gay 21{_[ 'aoua,lafuog
zuawaé’z)uz?]/V QSUQ 3111 adofangfwg ]U§’aj gay 3111 fo zaqwaw 29 1411/14 aoua,lafuoa auoqdajaz

19 u_z awd_zo_zz,lz)d[asunoa [2_1,11 pmi 1221 a,l_mba¢ g-g amy 12007 HUV pan g-g[ amy 10907 ]gA_zQ

 

 

 

 

woo‘/{auolouldd2[o@00d 0017§ 636 0§9 swepqu 03 ){o;.m>,d
19“'159311109@1“9>{!9115 ZIOI 817€ § 117 H!lu!€ld uQ>HWIS mulde
sselppV [;2]/\[-§[ ‘ON auoqd Bup,uaseldeg /{112d 9u12N

zeoua.leguoo suoqd }I(IV 91{1 ug 912€11:);1.12€! mm lasunoo Bu;AAouoj aql
gO/ZO/LO 90u910}u0;)1u9u1032u2]/\[ 982:) 50 912(]

aBpn[ 91211$;32}/\{ 2 qu/\A souelejuo;) lualue[ueg A{J2g[ 112 189nb91
Ssaoold }:[(IV u2 01 1u9u100132 u2 p0q0291 19/{10u 0A2q /

:Aaql 121{1 pure }IQV Suypnz€el pelle}uoo pu2 lam 9A2q /{qu 12q1 pedal [qunog

 

/
'(S);ulepue}a([

§[QNHH,:_[:[NOD rIV lE[ :IO ALID O.L'IV O'IV<I .LSVEI

HNOHJ H(IV HO:I (IEIEIN ;IO E[C)I.LON `A

‘(S)Huuwld
VAS vlLIo 80 0 `ON E{SVC)
VHnrNVO-Www HHOIHNH

VINHO:II"IVD :IO lC)IHlSIG NHE[H_LHON

T\T('\f\’\ T/'\T\ITOTFT O'.’TTWTC rT'.'rrTM/'\

